The Honorable Claire C. McCaskill Missouri State Auditor State Capitol Building Jefferson City, MO  65101
Dear Auditor McCaskill:
By letter dated December 28, 2000, you have submitted a fiscal note and fiscal note summary prepared pursuant to Section 116.175, RSMo, relating to the Tobacco Settlement Funds (Fiscal Note No. 00-25r).  The fiscal note summary which you submitted is as follows:
  All tobacco claim payments must be used only for specified purposes.  The payments could exceed $200 million annually and would be excluded from the Missouri Constitution Article X, Sections 17, 18 (the "Hancock Amendment").  Payments spent prior to adoption of the amendment that are contrary to the specified purposes must be replaced from general revenue.
Pursuant to Section 116.175, we approve the legal content and form of the fiscal note summary.  Since our review of the fiscal note summary is mandated by statute, no action we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
Sincerely,
JEREMIAH W. (JAY) NIXON
Attorney General